Case 2:19-cr-20026-GAD-EAS ECF No. 90 filed 08/15/19 PagelD.346 Page 1 of 50

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,
Case No. 19-20026
Vv Hon. Gershwin A. Drain

BHARATH KAKIREDDY, et al.

 

Defendants.
/

Timothy P. McDonald (P64562) David S. Steingold (P29752)
Attorney for Plaintiff Attomey for Defendant Bharath Kakireddy
U.S. Attorney’s Office Law Offices of David S. Steingold
211 W. Fort Street, Suite 2001 500 Griswold Street, Suite 2320
Detroit, Michigan 48226 Detroit, Michigan 48226
(313) 226-9100 (313) 962-0000 -

 

SENTENCING MEMORANDUM

Bharath Kakireddy is a 30-year old native of India. He is single with no children.
His parents still live in India, where his father is a farmer and his mother a housewife.

Early on, it was Bharath’s dream to come to the United States, earn his degrees,
obtain CPT status and, hopefully, find a job where he could be sponsored to obtain,
eventually, a green card and a path to citizenship to the United States.

Bharath obtained an undergraduate degree in electrical engineering from
Vardhaman University in India. He then obtained a student visa and began working on his
Master's at Atiantis University in Miami, Florida. He transferred to Silicon Valley University
in California because it was too expensive for him to five in Miami. Bharath Kakireddy
comes from a very humble background, and at the time was not able to work to heip pay

his bills.
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Silicon University is one of well over 100 independent colleges accredited by an
organization called the Accrediting Counsel for Independent Colleges and Schools
(‘ACICS”) It was recognized by the Department of Education and allowed students,
predominantly foreign students, to earn various degrees in the United States, usually with
the intention of obtaining work in the United States. In order to do so, you need to have an
I-20 Form. That is the paper that grants you status after coming to the United States with
a F-1 Visa.

Students often seek OPT, Optional Practical Training. That is temporary
employment directly related to an F-1 student’s major area of study. Eligible students can
apply to receive up to 12 months of OPT employment authorization before completing their
academic studies. Students can also obtain post-completion OPT training, however, the
periods of pre-completion OPT are deducted from the available period of post-completion
OPT.

Pre-completion OPTs can be applied for after a student has been lawfully enrolled
on a full-time basis for at least one full academic year at a college, university, conservatory
or seminary that has been certified by the U.S. Immigration and Customs Enforcement
Student and Exchange Visiting Program to enroll F-1 students.

One can obtain only 36 months of OPT training combined, pre- and post-completion
of studies.

CPT is temporary authorization for practical training directly related on to one’s
major field of study, whether paid or unpaid. That can include employment, internship
experience, cooperative education experience or practicum participation. CPT

authorization can be part-time, full-time, during the regular academic year (although one
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must register for full-time credits), or during an annual vacation quarter. Once 12 months
have been accumulated of full-time CPT authorization, eligibility is lost for OPT. Part-time
CPT authorization, or fewer than 12 months of full-time CPT authorization, does not affect
the OPT eligibility.

To be eligible to apply for CPT, one must be currently in a valid F-1 status, have
been enrolled full-time in a college or university for at least one academic year, have
declared a major, will earn internship course credits in one’s academic department for the
CPT experience, will earn one’s degree and have a job or internship offer.

Bharath Kakireddy was doing everything correctly when, on December 12, 2016,
the Department of Education announced that it no longer recognized the accreditation
agency for these schools. After some legal fight of this decision, on December 21, 2016,
U.S. District Court Judge Reggie B. Walton denied the ACICS request for a temporary
restraining order to stay the decision of the U.S. Department of Education terminating
ACICS's status as a federally recognized accrediting agency.

On April 3, 2018, the Secretary of Education issued an Order restoring ACICS’s
status as a federally recognized agency back to December 12, 2016.

in the interim, approximately 16,000 international students in the United States were
affected by the ACICS losing its accreditation. The attached list includes 171 of those
schools (Exhibit A).

Options for students who were now faced with losing their legal status in the United
States had to either determine whether their school was accredited by another agency,
transfer to another accredited school, or depart the United States if either of those options

did not work out.
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The situation for Bharath Kakireddy and others similarly situated was dire. Unless
they were enrolled in an accredited university within 15 days of the termination of the
accreditation, they would be out of status.

It was at this point that the University of Farmington increased its web presence in
order to attract students who were out of status. Bharath Kakireddy was referred to the
University by another individual who informed him that this was a perfect opportunity to
maintain status, seek CPT while seeking admission to a different university.

Bharath Kakireddy fell victim to this charade. While it is true that he eventually
became aware that the school was not conducting classes nor did they have a standard
curriculum, he nevertheless believed that he was legally enrolled in an accredited school.
Attached as Exhibit B is the admission package received from the University of Farmington
which, as the Court will see, certainly makes a strong case for it being a legitimate option,
a stop-gap if you will, for Mr. Kakireddy and others similarly situated. Also included in
Exhibit B are emails between Bharath Kakireddy and “Ali Milani,” the purported Director of
Admission from the University of Farmington. This shows that even after enrolling, Mr.
Kakireddy was still asking about details of the course schedule, obviously still under the
impression that he was doing nothing wrong,

After enrolling, Mr. Kakireddy was encouraged to refer other students to the
University. Others who sought enrollment were ignored until they were “referred” by Mr.
Kakireddy.

The Court should know that it is a common practice for some of these colleges to
pay a referral fee for recruiting students. It is certainly not unique to the University of

Farmington. Having been referred to the University of Farmington by a now co-defendent

a
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who worked out a deal to be paid for referring students, Bharath Kakireddy did the same.
The offer made by the University of Farmington is that once he referred nine students, his
tuition would be waived, and he would thereafter be paid $500 for every student recruited.

Bharath Kakireddy’s motivation was not just financial; it was primarily to help
disenfranchised fellow countrymen from India who were in the same position as he,
seeking to continue their studies and obtain employment in their field of study.

These students as a whole were good, hardworking young men and women,
looking to better their lives usually in high tech jobs in the United States. Seeking a part of
the American dream, they were desperate to maintain their status, not to commit crimes or
take advantage of our liberal welfare system, but to work in areas in which they were
highly skilled, trying to find that unique job that would justify their employers seeking to
sponsor these students for eventual United States citizenship.

While those dreams are dashed for almost all of these students, this Court should
understand that this was not a pay-to-stay scheme, it was a method designed to be a stop-
gap while the students were hoping the accreditation decision would be reversed, or they
could transfer to another accredited university. |

in fact, in January of 2019, Bharath Kakireddy applied for and was accepted to the
New England College in New Hampshire. Attached as Exhibit C is the acceptance by New
England College, as well as requests from Bharath Kakireddy to the University of
Farmington to transfer his student exchange information to the New England College. It
was shortly thereafter that this indictment issued and Mr. Kakireddy, along with so many

others, were taken into federal custody. !
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Before that transfer, back in March of 201 8, Bharath Kakireddy was offered a full-
time position with Deloitte Consulting out of New York City. Exhibit D contains the letter
formally offering a job to Bharath Kakireddy. Also attached is a highly redacted intent to
deny Deloitte’s petition for non-immigrant worker status on behalf of Bharath Kakireddy (I-
129). While counsel has still not seen the entirety of this intent to deny, it appears clear
from what is written that the denial has to do with the time Mr. Kakireddy spent at the
University of Farmington, working under the CPT program, but not at a higher educational
level than the previous 12 months when he was working under the CPT. Bharath
Kakireddy was certainly educated and qualified to be employed as a solution analyst. His
Bachelor's Degree in Electrical Engineering from Vardhaman, his Master’s Degree in
Computer Science from Silicon Valley University, as well as his practical training, made
him an ideal candidate. Instead he is now faced with immediate deportation having pled
guilty to conspiracy to commit visa fraud and harbor aliens for profit.

The Government is seeking to hold Mr. Kakireddy to a guideline range of 37-46
months. In order to do so, the computation of students who were “harbored” was listed at
more than 100, resulting in an additional three points to the offense Jevel. This
enhancement greatly overstates the severity of the offense. This was not a conspiracy
where the defendants sat down and determined who they were going to target and how
much they were going to make. This was Mr. Kakireddy on his own offering help to his
friends who asked for his assistance. In fact, Mr. Kakireddy was paid for recruiting 90
students. As such, he shouid not have received those three points and his guideline range

should be 27-33 months. |
|
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The immigration laws provide that if a person such as Bharath Kakireddy is
removed from the country because of his conviction of a serious felony, he would not be
eligible to apply for reentry for a period of 10 years. At that point, he could apply, but
certainly under the current immigration policies, it is highly unlikely any visa would be
approved. If a person is sentenced to more than a year in jail, however, there is a lifetime
ban on reapplying for entry into the United States for any purpose. The Government in this
case is seeking at least a one-year sentence on each of the defendants for this very
reason. |

The defense would argue that more than a year in jail is unnecessary. Starting with
the caveat that a sentence should be sufficient but not more than necessary to accomplish
the purposes of the sentencing statute, 18 U.S.C. §3553, the defense contends that a
sentence of time served would be appropriate for these reasons:

Bharath Kakireddy has already been disenfranchised. His degrees from the United
States will do little to advance his ability to obtain a job in india. Besides the humiliation
and embarrassment of coming home under these circumstances, the validity of his
degrees is thrown in question based on the events that occurred in the United States. He
will have to start over from scratch.

Prohibiting any possible reentry into the United States for a lifetime does not serve
the interests of the United States. As a whole, they have outstanding abilities and
potential. Any one of them has the potential to accomplish tasks that would benefit not just
the United States but the world. Should we really preclude them from ever applying for
reentry? Of course they could be denied if they did reapply, but let’s hold out the

possibility that Bharath Kakireddy and others like him may prove over 10 years’ time not
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only their remorse for the actions leading to their deportation, but that they are now
rehabilitated to the point where their presence in the United States would benefit our
society. Perhaps one of them could develop a cure to some terrible affliction like
Parkinson's or Alzheimer’s Disease. The defense would contend that the Unites Siates is
hurting its future by determining that none of these peopie should ever reapply.

Bharath Kakireddy did not kill anyone. He did not steal anything. He did not
promoie or become involved in drugs, gambling, or any other vice. He took steps to keep
his status while continuing to work and looking for another school to complete his
education and, hopefully, lead to permanent employment and future citizenship in the
United States.

While he certainly made money in recruiting other students, this was not done under
the table or behind the backs of anyone. Money was wired into his account by United
States officials or he was given cash, fully accounted for. In fact, he was exercising the
entrepreneurial skills encouraged by our society.

The fraud which is the gravamen of this offense was that Bharath Kakireddy
enrolled in a school that he, certainly at some point, realized was not a real university. The
original fraud, however, was perpetrated by the United States Government in creating the
University of Farmington and then soliciting these students not only to enroll, but to
encourage others to enroll as well.

Bharath Kakireddy’s true intention is shown by his attempt to transfer to an
accredited university to complete his studies.

The question this Court has to answer, among others, is whether the actions of an

otherwise honest and hardworking foreign exchange student who was pursing his dream
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to live and work in America, should be forever barred because he enrolled in the University
of Farmington to avoid losing status and having to leave the country without completing his
studies, knowing how unlikely it would be for him to be able to return if forced to give up his
status and leave the country.

Bharath Kakireddy has been in federal custody in both county jails and at FDC-
Milan since his incarceration. He has had no visitors, except for telephonic contact with a
family member out-of-state, since his arrest in January of this year. By the time of
sentencing, Mr. Kakireddy will have served close to ten months in federal custody.

Counsel contends that incarceration, together with the certainty of deportation, is
sufficient to satisfy the punishment and deterrence factors in 18 U.S.C. §3553. There is no
need to protect the public from further crimes of the defendant as he will be removed from
the country. Nor does he need educational or vocational training, or other care.

Most importantly, when this Court considers the nature and circumstances of the
offense and the history and characteristics of the defendant, it has a student. A young
man who was striving to better himself for his family, who was placed in a predicament
with few options. With only 15 days to obtain status, and with a glut of thousands of now-
disenfranchised students looking to transfer to another school or suffer the same fate as
Mr. Kakireddy, the admission process wouid just not work quickly enough to make
decisions within those 15 days. The University of Farmington was the only viable option,
short of returning to India. While in retrospect it certainly appears that would have been
the better option, it is hoped this Court will understand the anxiety from which Bharath

Kakireddy was suffering, and the efforts that he took to try to save his dream.
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Enclosed please find severai letters. The most significant is by Bharath Kakireddy,
attached as Exhibit E. He describes his role in the offense and the devastating effect it
has had on his life and future. He expresses remorse and shows contrition, explaining that
his goai was to stay in the United States and not realizing the dire consequences of his
actions.

Also included in Exhibit F are letters from his parents, relative and friends,
| describing his character as being a thoughtful, sincere and devoted son and student. They
describe his strict morality, describing him as a kind person, generous, with strong ethics
towards family, friends and community.

The letter from his parents is compelling. This family of meagre means scraped
together their life savings to send their son to America to further his education, improve his
lot in jife, and provide him with the tools to be successful. They describe their son as
humiliated and beaten. They do not believe that Bharath Kakireddy fully understood the
consequences of his actions. They are correct.

What Bharath Kakireddy did was certainly against the law. His knowledge of
breaking the law and the consequences are not a defense but are factors this Court should
take into consideration when determining the appropriate sentence. Bharath Kakireddy
will have to start over once he returns to India. This will be very difficult as news of this
sort of conviction will certainly follow him in his pursuit of a job.

Having spent close to ten months in jail, and with the devastating effect this has
already had on his life and the lives of his family and relatives, his future is in doubt.

Bharath Kakireddy committed a federal felony and is facing serious consequences,

regardless of the imprisonment imposed by this Court. When balancing all of the factors,

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and that should include the tremendous cost of continuing to incarcerate Bharath
Kakireddy following sentence in the United States, it is hoped this Court would consider
sentencing him to time served with an Order of immediate deportation.

Respectfully submitted,

/s/ David S. Steingold
LAW OFFICES OF DAVID S. STEINGOLD
BY: DAVID S. STEINGOLD (P 29752)
Counsel for Defendant
500 Griswold Street, Suite 2320
Detroit, Michigan 48226
(313) 962-0000 (phone)
(313) 962-0766 (fax)

Dated: August 15, 2019

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,
Case No. 19-20026
Vv. Hon. Gershwin A. Drain
BHARATH KAKIREDDY, et al.

 

Defendants.
/
Timothy P. McDonald (P64562) David S. Steingold (P29752})
Attorney for Plaintiff Attorney for Defendant Bharath Kakireddy
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211 W. Fort Street, Suite 2001 500 Griswold Street, Suite 2320
Detroit, Michigan 48226 Detroit, Michigan 48226

(313) 226-9100 (313) 962-0000

 

CERTIFICATE OF SERVICE

DAVID S. STEINGOLD (P 29752) hereby certifies that on August 15, 2019, |
electronically filed the above-annexed pleading with the United States District Court for the
Eastern District of Michigan using the ECF/CM electronic filing system which will
automatically send electronic notification of this filing to all attorneys of record for ail parties.

Respectfully submitted,

/s/ David S. Steingold
DAVID S. STEINGOLD (P29752)

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EXHIBIT A

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OUR RANKING PHILOSOPHY {/RANKIMMMB,
RANKINGS METHODOLOGIES (/RAN SHR

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List of Schools Accredited by the Accrediting

Council for Independent Colleges and
Schools (ACICS}

A-B

Art Institute of
Phoenix

Art Institute of Salt

' Lake City

Art Institutes
International -
Kansas City, The

Atlantic University
College

Beckfield College

Bergin University of
Canine Studies

C-F

California
Aeronautical]
University

California
International
Business University

California Miramar
University

California University
of Management and
Sciences

G-N

Global Health
College

Glabe University

Globe University -
Appleton

Globe University -
Eau Claire

Globe University -
La Crosse

Globe University -
Madison East

Globe University -
Minneapolis

P-\/

Pacific States
University

Pioneer Pacific
College

Pioneer Pacific
College - Eugene
Branch

Provo College

Radiological
Technologies
University VT

San Ignacio
University
Beverly Hilis Design

California University

Globe University -

Sanford-Brown

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Bon Secours
Memorial College of
Nursing

Bristol University

Broadview
Entertainment Arts
University

Broadview
University - Boise

Broadview
University-Orem

Broadview
University-West
Jordan

Brookline College
Brooks Institute

Brown Mackie
College - Akron

Brown Mackie
College - Atlanta

Brown Mackie
College - Boise

Brown Mackie
College - Cincinnati

Brown Mackie
College - Dallas/Ft.
Worth

Brown Mackie
College - Findlay

Brown Mackie
College - Fort
Wayne

Brown Mackie
College - Greenville

Brown Mackie
College -
Indianapolis

Sciences San Diego
Branch

Cambridge Junior
College

Career Point
College

Career Point
College - Spencer
Lane Branch

Charter College

Charter College -
Oxnard

Charter College -
Vancouver

Charter College,
Fife, WA

City College
Coleman University

College of Business
&amp; Technology

Colorado Heights
University

Daymar College

Daymar College
(Online)

Design Institute Of
San Diego

Dewey University
Mayaguez

Dewey University-
Carolina Campus

Dewey University-
Hato Rey Campus

Dewey University-
Juana Diaz Campus

Globe University -
Wausau

Globe Universiiy-
Moorhead

Harrison College
Hickey College

Hondros College of
Nursing

Humacao
Community College

ITT Technical
Institute

Iglobal University

international
Business College

international
College of Health
Sciences

Jones College

Jose Maria Vargas
University

Key College
Kingston University

Le Cordon Bleu
College of Culinary
Arts Scotisdale

Lincoln College of
Technology

Lincoln University

Living Arts College
@ School of
Communication Arts

Louisiana Culinary
Institute

Sanford-Brown
College Online

Sanford-Brown
College-Chicago

Santa Barbara
Business College

Santa Barbara
Business College -
Online

Schiller
International
University

Seattle Film
Institute

Sentara College of
Health Sciences

Shepherd
University

Silicon Valley
University

South College-
Asheville

Southern States
University

Southern Technical
College

Spencerian College

Stevens - The
Institute of
Business and Arts

Stratford University

Stratford University
- Alexandria
Campus

Stratford University
~ Glen Allen
Brown Mackie

Dewey University-

MDT College of

Stratford University

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Brown Mackie
College - Merrillville

Brown Mackie
College - Miami

Brown Mackie
College - North
Canton

Brown Mackie
College - Phoenix

Brown Mackie
College - San
Antonio

Brown Mackie
College - South
Bend

Brown Mackie
College - St. Louis

Brown Mackie
College - Tucson

Brown Mackie
College - Tulsa

Brown Mackie
College- Northern
Kentucky

Brown Mackie
College-
Albuquerque

Bryan University

Digital Media Arts
College

Duluth Business
University

EDIC College
Eagle Gate College

East West College
of Natural Medicine

Eastwick College
Everest College

Everest University -
Brandon

Everest University -
Jacksonville

Everest University -
Lakeland

Everest University -
Melbourne

Everest University -
North Orlando

Everest University -
Orange Park

Everest University -
Pinellas

Everest University -

Pompano Beach

Everest University -
South Orlando

Everest University -
Tampa

Florida Career
College - Miami

Florida Career
College - Pembroke
Pines

Inc.

Madison Media
Institute

Marconi
International
University, Inc.

Medtech Institute

Miami Regional
University

Millennia Atlantic
University

Miller-Motte College

Minneapolis Media
Institute

Minnesota School
of Business

Minnesota School
of Business - Blaine

Minnesota School
of Business - Elk
River

Missouri College
Nationa! College
Neumont University
Nobel University

Nobel University -
Buena Park

North American
University

Northwestern
Polytechnic
University

Stratford University
Baltimore Campus

Sullivan College of
Technology and
Design

Suncoast College of
Health

Texas Health and
Science University

Texas Health and
Science University-
San Antonio
Campus Addition

The Art Institute of
St. Louis

The Art Institute of
Tucsen

The Art Institute of
Wisconsin

The Art Institute of
York - Pennsylvania

The Art Institutes
International
Minnesota

The Digital
Animation &amp;
Visual Effects
School

Tribeca Flashpoint
College

UAC School of
Global Management

UE! College

Unilatina
International
College .
Florida Technical versal
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of Puerto Rico

University of
Antelope Valley

University of North
America

Virginia College
Virginia
International
University

Virginia University
of Oriental Medicine

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EXHIBIT B

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a

University of Farmington

Office of Admissions
30500 Northwestern Highway
Farmington Hills, Ml 48334

 

 

May 15, 2017

Bharath Kumar Kakireddy
900 Discover Blvd., Apt. 13103
Cedar Park, TX 78613.

Dear Bharath,

It is with great pleasure to inform you of your admission to the University of Farmington
for the Summer 2017 Quarter.

You were chosen from the largest and most competitive applicant pool in the
institution's history for this opportunity. On behalf of myself and our faculty, students,
and alumni - congratulations and welcome to the global community that is the University
of Farmington!

- Your admission to the University of Farmington is a reflection on your past academic
achievements and future goals. We are confident in your ability to prosper and succeed
at the University of Farmington.

At the University of Farmington, you will be part of a diverse community, where
undergraduate, graduate, and international students work alongside renowned faculty in

- an environment of ingenuity, creativity, and innovation. The professional faculty at the
University of Farmington are drawn directly from business and industry and will provide .
you experiences needed to succeed in your career by exposing you to a blend of
traditional, applied, and practical educational opportunities.

The opportunities a degree from the University of Farmington holds are endless.

If you have any further questions regarding your acceptance and next steps in the |
admissions process, please contact us at admissions @universityoffarmington.edu.

The University of Farmington community welcomes you, and | personally look forward
fo greeting you on campus.

Sincerely,

Ali Milani
Director of Admissions

 

248.702.6316 . . admissions@ universityoffarmington.edu

A nationally accredited institution authorized to enroll international students by the U.S. Department of Homeland Security.

 
 

University of Farmington

Student and International Affairs
30500 Northwestern Highway
Farmington Hills, Ml 48334

University of Farmington |
Curricular Practical Training (CPT) Agreement.

Overview
Curricular Practical Training (CPT) is ‘defined by US immigration regulations as “alternate work/study, internship,

cooperative education, or any other type of required internship or practicum which is offered by sponsoring employers
through cooperative agreements with the schools.” [8CFR 214.2(f)\(10)(i)]

In order for a student to be eligible for CPT, and to receive permission to work from the International Office, the
following conditions must be met:

I)

2)

3)

4

5),

6)

Important Points to Remember:
The student may not begin working for the employer until he/she has been authorized to do so by UF’s
Designated School Official (DSO) in the International Office. The authorization will be printed on the 1-20.

The student may only work for the employer named in the authorization and may only work during the dates
indicated.

The student must have been enrolled full-time for at least two semesters, and must be maintaining. F-].
status.

The student must complete the CPT during his/her studies. This may be during summer or in any other
semester before the student graduates. Ifthe student has completed all course/thesis requirements for the
degree, the student is not eligible for CPT, but must instead apply for Optional Practical Training (OPT).

-The CPT must be an integral part of an established curriculum so that the training:
a. is required of all students in that program of study; or
-b. is required for a particular course; or
c. is offered under a cooperative agreement between the university and the employer;

The student must secure a letter from the prospective employer indicating:
Job title — Lo

Start date of employment (MM/DD/YYYY)

End date of employment (MM/DD/YYYY)

Number of hours per week

Physical address of employment

Brief description of duties

The letter must be signed and on company letterhead

NHOOOOOO

The student must register for the course Tequiring the completion of an internship that his/her department
has designated for the CPT. The course must be for at least one credit hour, and the student must register
for the course during each semester that he/she is authorized for CPT.

If all of the above eligibility requirements have been met, the student will be authorized to work for the

' requested period of time. The authorization is in the form of an endorsement on the student’s I- 20 that
specifies the employer, the location of the employment, and the dates of employment.

A student who has engaged in 365 days or more of full-time (21 hours or more per week) curricular | |

practical training will not be ° eligible to engage in Optional Practical Training in the same level of
education degree.

CPT Agreement Form Page 1
Case 2:19-cr-20026-GAD-EAS ECF No. 90 filed 08/15/19 PagelD.366 Page 21 of 50

How to Apply for CPT:

This checklist is designed to help students requesting authorization for CPT in order to complete an internship .
off campus. Read all information thoroughly: If you have questions contact the Office of Student and
International A ffairs.

I) Meet with your academic advisor to complete the Recommendation for Curricular Practical Training form.
(Make sure your advisor signs the form.) .

2) Obtain supporting documentation if required (see recommendation form).

3) The student must secure a letter from the prospective employer indicating:
Job title ,

Start date of employment (MM/DD/YYYY)

End date of employment (MM/DD/¥YYY) ©

Number of hours per week

Physical address of employment

Brief description of duties

the letter must be signed.and on company letterhead

MOOOOO8H

3) Schedule an appointment with the Director of International Office to review your materials and be authorized
for CPT.

Please bring the following items to the advising meeting:
CL} Completed Recommendation for Curricular Practical Training form
CI Supporting documentation if required —
O Employer Letter (sce paragraph #4 above)

By signing below, I acknowledge that I have read and understand my responsibilities under CPT.

Student Name: Bharath K Kakireddy Student ID#: 20170605216
Signature: Date: March 19, 2018

 

 

4) APPROVAL TO REGISTER IN INTERNSHIP COURSE (To be completed by Int’] Director/P/DSO):

Has student met all CPT requirements? Yes ml No [_] If No, explain:

 

Is the student approved to register/enroll in internship course indicated by advisor? Yes I No [_]

Edward Roberts Ph.D. Ca Bevard Robuita March 19, 2018
Print Name of Director/P/DSO Signature of DSO Date

 

 

**NOTE: Approval for course enrollment does.not authorize CPT approval. You must enroll in an
internship course in order to receive a new I-20 showing official CPT approval**

 

5) Once approved for enrollment in internship course, student must return all CPT forms and supporting
documents, and provide the Director/P/DSO. with proof of course enrollment. Upon receipt of proof of
enrollment a new Form I-20 willbe issued endorsing the student’s CPT.

Edward Roberts Ph.D. Chward Kobuta March 19, 2018
Print Name of Director/P/DSO Signature of DSO Date

 

 

_CPT Agreement Form Page 2
29026-GAD-EAS ECF No. 90 filed 08/15/19 PagelD.367 Page 22 of 50
University of Farmington
Student and International Affairs

30500 Northwestern Highway
Farmington Hills, Ml 48334

  

University of Farmington
| Curricular Practical Training (CPT) ©
Advisor Recommendation for Curricular Practical T raining Form

To the student: Please complete the following information then meet with your academic advisor to
discuss your proposed training.

Last Name: Kakireddy First Name: Bharath Kumar ID#: 20170605216

To the student’s academic advisor: The student listed above wants to apply for work permission
under Curricular Practical Training (CPT). In order to be eligible for this program, the above student
_ must:
1) be enrolled ina program of study in which the practical training is an integral part of an
established curriculum so that the training:
a. is required of all students in that program of study; or
b. is required for a particular course or circular track; or
c. is offered under a cooperative agreement between the university and the employer;
2) complete the CPT prior to completion of all requirements for their program of study.

To determine the student’s eligibility for CPT, the following information is required.
J. Internship Requirement (please CHECK the appropriate option(s)):
CL] 1) The student is participating in a cooperative educational agreement between the
university and the employer. Must provide copy of the co-op agreement.

2) The student is enrolled in a degree program which reguires all students to complete
an internship to complete the program of study. Requirement must be published in the
university catalog. (if this box is checked, then by default “Box 3” also applies.)

3) The student is approved to enroll in a course or curricular track which requires the
completion of an internship and counts toward the student’s program of study
requirements. (Note: Course or curricular track with internship requirement must
be listed in the university catalog.)

II. Status of Student in Degree Program:
The student has not yet completed all required coursework. The student is expected to
complete his/her degree requirements in (semester and year): Summer 2019

Academic Advisor: _A. Speros Department; Graduate Advising

Signature: Angelique Speros Date: March 19, 2018

 

 
Case 2:19-cr-

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PL University of Farmington

Student and international Affairs
20500 Northwestern Highway
Farmington Hills, Ml 48334

 

Bharath Kumar Kakireddy

As part of your program, you must fulfill an externship every academic.term of
enrollment. As an international student, this requirement can only be met through
Curricular Practical Training (CPT) authorization. As such, CPT will be authorized
for up to one year upon registration. In addition, CPT can be authorized upon
enrollment, on "Day 1" if all the requirements are met at time of registration.

CPT is “job-specific” meaning that it is authorized for a specific job and for the specific
amount of time that you will be employed. In addition, the University of Farmington
Office of Student and International Affairs will review your proposed CPT employment
to ensure it is an integral part of your program’s curriculum.

Therefore, a job offer letter is required in order to apply for CPT. Job offer letter must
be printed on company letterhead and signed, and must include the following:

e Your start date and end date

e¢ The number of hours per week that you will be working — itis not sufficient for it
to say “part-time” or “full-time” (see Part-time versus Full-time below) ,

e The physical location (street address, city, state; and ZIP code) where the job will
be conducted — P.O. Boxes are not acceptable .

e Job fifle and-description

Note: If the job offer letter issued to you by your employer does not contain all the
necessary information, please ask your employer to write an additional memo including
the missing formation and upload this along with your official job offer letter when
requesting CPT.

~ Best of luck in your continuing academic endeavours.
Ctward Kebute

Dr. Edward Roberts, Ph.D.
Director of Student and International Affairs

 

248.702.6719 studentaffair@ universityoffarmington.edu

A nationally accredited institution authorized to enroll international students by the U.S. Department of Homeland Security.

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International Students

Application for Admission

All International Students, both undergraduate and graduate, must complete the form below.
Return completed applications to University of Farmington, Office of Admissions, 30500
Northwestern Highway, Suite 210, Farmington Hills, MI 48335 or email to
admissions@universityoffarmington.edu. A non-refundable application fee of $100 is required
prior to processing. Payments may accompany application or be invoiced upon receipt.

 

 

CEI MIEN Check ne: (J) Undergraduate application W cradvate application

kakireddy Bharath kumar
1, Family name ; First Middfe Maiden

2, Gender wi Male []Female  3.Date of birth: fdonth/Day/Year 06 10,1989

 

4 Place of birth (city, comm Manajipet india

 

 

 

 

 

5. Mailing address (This adorass will be used for all university conespondence} Number and Street Apt #
900 Discover Blvd Apt 13103 Texas 78613 USA
City State or Province Postal fode Country
6. Permanent address fin your home country! Number and Street , , Apt é
city alate or Province . Postal Code Country
7, Primary email Secondary email Phone number

8. Which of the following do you consider to be your racial/ethnic background? Please check any that apply.

' M asian L] Black/African American [) Hispanic/Latino (Pacific Islander =”) White/Caucasian. (] Other

 

9. What is your native language?

Citizenship

. 10, Country of citizenship India Passport Number (attach copy)

 

 

11. Are you a parmanent resident of the United States? (ifyves, please submit a copy of your green card} © (_) Yes Mo

 

12. Are you currantly inside the U.S. on a valid visa? Wes LI Ne If yes. what visa do you have? Ft

13, What type of visa will you use to study at UF? 41 LO J-1 (1 Other

 

14. Have you applied to UF before? Ces Mo 15. To which session and year are you applying now? ~Summer 2017

16, What tyge of student wilt you be? > Non-degree-seeking student © [_] Visiting/Exchange student (J Degree-seeking student
17, At which level will you study? Bachelor's WM testers

18. What is your intended academic major and degree?

 

 

 

A nationally accredited Institution authorized to enroll intemational students by the U.S, Department of Homeland Security.
Case 2:19-cr-20026-GAD-EAS ECF No. 90 filed 08/15/19 PagelID.370 Page 25 of 50

Educational Background

 

19. Please list a!l high schcols and universities you have attended.

 

 

 

 

 

 

 

 

 

 

20, \f you have not graduated from your currant schoal, list each class you are taking in your final year.

 

 

 

 

 

 

 

 

21, Are you on probation, suspension or dismissal at another college or university? LJYes [No Ifyas, please explain.

 

22. Pleasc list scores and test dates for any exams you have completed.

 

TOEFL/IELTS

 

ACT/SAT

 

GRE/GMAT

 

 

 

 

 

Friend -Santosh Reddy

23, How did you learn about the University of Farmington?

 

 

Emergency Contact
24, (_] Parent/Guardian (J Spouse (J Other
. Family name First Middle

 

Phone number Emait : Address

Attestation

25. Didan agency help you with your application te UE? [7 Yes Mv,

If yes, write the name of the agency or company that assisied you,

 

26. | certify that the information provided on this application is true and complete. junderstand that the misrapresentation of facts will be cause fer refusal or revocation
of admission to the uriiversity.

05/15/17

Legal Signature Date

 

A nationally accredited institution authorized to enroll international students by the U.S. Department of Homeland Security.
Case 2:19-cr-20026-GAD-EAS ECF No. 90 filed 08/15/19 PagelD.371 Page 26 of 50

From: . Studentaffairs@universityoffarmington.edu

Fa: "Bharath k"

Cc: “ali milani iversi rnin i

Subject: FW: course Scedule and Timing

Date: Thursday, October 19, 2017 1:38:00 PM

Attachments: Y UFZ 6216,s¢ch 2017
TERUVALUF#20170899078, schedule, Fall2017,pdf

F# 21 11schi 17.pdaF

REPALA.UF#20170973363 schedule,Fall2017 pdf

 

PFA class schedules.

 

From: Ali Milani [mailto:ali.milani@universityoffarmington.edu]
Sent: Thursday, October 19, 2017 12:33 PM

To: ned.roberts@universityoffarmington.edu

Subject: FW: course Scedule and Timing

Sent from Mail for Windows 10

 

_ From: Bharath k
Sent: Thursday, October 19, 2017 12:28 PM

To: Ali Milani

Subject: Re: course Scedule and Timing
Hello Mr Ali,

Can you please share me the Details of the course Schedule along with the Timing for this semester enrolled.

1. Bharath kumar kakireddy
2. Shashikarth Konjarla
3. Sravan kumar Repala
4. parthasarathi Teruvai

Thanks,

Bharath

On Wed, Oct 11, 2017 at 2:35 PM, Bharath k <bharathk6688@gmail.com> wrote:
Hello Mr Ali,

Bharath kumar kakireddy
Shashikanth Konjarla
Sravan kumar Repala
Case 2:19-cr-20026-GAD-EAS ECF No. 90 filed 08/15/19 PagelD.372 Page 27 of 50

Thanks,
- Bharath
On Wed, Oct 11, 2017 at 2:25 PM, Ali Milani <ali.milani@universityoffarmington.edu> wrote:

Who are the guys that need the schedule?

Sent from Mail for Windows 10:

 

From: Bharath k

Sent: Wednesday, October 11, 2017 1:44 PM
To: Ali Milani

Subject: course Scedule and Timing

Hello Mr Ali,

Can you please share me the Details of the course Schedule along with the Timing for this
semester which ij have enrolled.

Thanks,
Bharath

 

 
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EXHIBIT C

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Case 2:19-cr-20026-GAD-EAS ECF No. 90 filed 08/15/19. PagelD.374 Page 29 of 50

 

bharath kakireddy <bharathkakireddyk@gmail.com>

 

- Congratulations from New England College!

 

Casey Walker <cwalker@nec.edu> , 10 January 2019 at 10:34
To: "bharathkakireddyk@gmail.com" “pharathkakireddyk@gmall.com>

NS New England School of Graduate

College and Professional Studies
4

BHARATH KUMAR KAKIREDDY

822 ROSELING CIRCLE UNIT 220
LAKEMARY

LAKEMARY, Florida 32746

United States

Dear BHARATH KUMAR,

Congratulations! | am pleased to inform you of your acceptance into New
England College’s MS Executive Computer Information Systems (Day 1
CPT) program, with a Spring | 2019 Executive start date - January 14. We
are delighted to welcome you to New England College, and promise you a
high quality program, one that is interactive and challenging, providing you
‘with the expertise that will raise you above the competition.

Please refer to the attached document for answers to frequently asked
questions, including residency dates.

In order to transfer to New England College, you will need to provide your.
current institution with the NEC SEVIS. school code: BOS214F00408000.

We ask that you keep us updated on your current address, telephone
number, and email address, so that we may send you important updates
and schedule information.

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Case 2:19-cr-20026-GAD-EAS ECF No. 90 filed 08/15/19 PagelD.375 Page 30 of 50

On behalf of all of us at New England College, | again congratulate you on |
your acceptance. We look forward to seeing you on. campus:

Your official, hard copy acceptance letter will be given to you with
your NEC /-20. Your NEC I-20 will be processed after your current
university transfers your SEVIS record to NEC,

Sincerely,

Stephanie Kelliher

Director of Enrollment

 

2 attachments — Download all attachments

= FAQs Executive Programs.pdf
476K View as HTML Download

a International Transfer-in form.pdf
422K View as HTML Download
Case 2:19-cr-20026-GAD-EAS ECF No. 90 filed 08/15/19 PagelD.376 Page 31 of 50

 

From: Bharath k

To: studentaccounts @universityoffarmington,edu

ca: Student Affairs :

Subject: SEVIS Transfer Out Request for 1/11/2019

Date: Friday, January 11, 2019 12:06:57 PM

Attachments: ence iNew E e Bhar .
Intemational Transfer-in form Bharath kumar kakireddy pdf

Hi Team ,

This is BHARATH KUMAR KAKIREDDY Piease Transfer my SEVIS to the New England
College please find the Attachment of the Transfer form and please transfer my SEVIS ASAP
Today 1/11/2019 since.My new course is going to start on 1/14/2019 Monday.And please
update me once you transfer my SEVIS to the New College.

First name : Bharath kumar
Last name: kakireddy
Date of Birth : 06/10/ 1989

Thanks,
Bharath
Case 2:19-cr-20026-GAD-EAS ECF No. 90 filed 08/15/19 PagelD.377 Page 32 of 50

EXHIBIT D
 

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Case 2: 19-¢ -Cr- -20026- GAD- EAS” "ECE No. "90° ‘filed 08/15/19 "PagelD. 379 ‘Page 34 of 50 : -

DELOITTE CONSULTING LLP
c/o JUSTIN KADICH
GUBERMAN GARSON LLP’

22 ADELAIDE ST WEST FLR 9
TORONTO, ONTARIO M5H 453
CANAD

RE: BHARATH KUMAR KAKIREDDY
I-129, Petition for a Nonimmigrant Worker

INTENT TO DENY

Dear Sir/Madam,

U.S, Department of Homeland Security
U.S. Citizenship and Immigretion Services
75 Lower Waljten St,

St Albans, VT 05479

 

U.S. Citizenship and Immigration Services (USCIS) is notifying you of its intent to deny the Petition
for a Nonimmigrant Worker (Form I-129) you filed onApril 12, 2018 , to classify Bharath Kumar

Act,

Kakireddy as a Solution Analyst under section 101(a)(15)(E)G)(b) of the Immigration and Nationality

 

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Case 2:19-cr-20026-GAD-EAS ECF No. 90 filed 08/15/19 PagelbD.380 Pagé350f50. "4;

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Case 2:19-cr-20026-GAD-EAS ECF No. 90 filed 08/15/19. PagelD.384 Page 39 of 50

 
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' Maintenance of Status
Multiple Years of Practical Training at Same Education Level

It appears that the beneficiary was granted more than 12 months of practical training at the same
_ educational level, Students may be authorized 12 months of practical training, and become eligible
for another 12 months of practical training when he or she changes to a higher educational level.

Evidence indicates that the beneficiary attended Silicon Valley University and was granted post

completion optional practical training after the beneficiary completed. his Master's degree, which was
valid from June 01, 2016 to May 19, 2017.

: L.
Evidence indicates that the beneficiary also attended University of Farmington and was
granted curricular practical training while the beneficiary was completing his subsequent Master's
degree, which was valid from June 05, 2017 to June. 04, 2018. The beneficiary was subsequently
granted an extension to February 28, 2019.

Submit a detailed statentent, along with supporting evidence to explain the periods of time the
beneficiary was granted practical training at the same educational level.

 

Sincerely,

jfsaes fechowste
- Laura B. Zuchowski
Director

YSCI2SVSCINTOON006469833. Tor? wuww.uscis. gov

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Case 2:19-cr-20026-GAD-EAS ECF No. 90 filed 08/15/19 PagelD.386 Page 41 of 50

EXHIBIT E

 

 
Case 2:19-cr-20026-GAD-EAS ECF No. 90 filed 08/15/19 PagelD.387 Page 42 of 50
August 6, 2019

Dear Judge Drain:

| was in desperate need to join the University of Farmington since my old
university’s accreditation agency was removed by the Department of Education for a
period of time until it was restored. That caused me to search to join a new school in a
very short period of time.

Due to the cancellation of the accreditation body, many schools had lost their
recognition and caused many students to have to look for other schools. Since a large
number of applications were flooding the schools, it took much longer for the different
schools to process the applications. Since the University of Farmington offered to
provide admission immediately and work authorization, together with it being less
expensive compared to other schools, | joined to save my status to live in this country. |
also helped my friends obtain admission so that they could continue to stay in the
United States. Many of these students tried to apply directly to the University but were
turned down and told to go to me to refer them for admission.

Making money was not my priority. | wanted to heip my friends and myself stay
in the country to continue our education and work towards our dream of becoming
United States citizens.

| did make money with the referrals. This is a rather common practice at these
colleges and universities. They offer tuition help as well as bonuses for referring
students.

lf | would have obtained my OPT extension of 24 months (optional practical
training work authorization), that | was going to receive from the USCISC, | would not
nave joined any university as | would have already paid my tuition at Silicon Vailey
before it lost its accreditation. | had to pay a fee for a second university to save my
status.

| was born in a middle class agricultural family in India where my father is a
farmer and my mother is a housewife. My sister is a married housewife. | am the only
son who supports my parents to help make ends meet. My parents were very keen to
provide me good education so that | could excel in my career. It was my childhood
ambition to fulfill the dreams of my family, therefore | worked hard at my academics in
order to achieve a better education.

| had completed my bachelor’s degree in India and worked for a software
company, coming to the United States for my master’s degree. My parents borrowed
money for my education in the U.S. | received my master’s degree in computer science
Case 2:19-cr-20026-GAD-EAS ECF No. 90 filed 08/15/19 PagelD.388 Page 43 of 50

from Silicon Valley University, in San Jose, California, with a 3.7 GPA in April 2016.
Later | worked an internship in a software company and moved to Deloitte Consulting in
Lake Mary, Florida, in March 2018 as a solution analyst.

| want to take care of my father and mother since | am their only son. They are
facing a tough life since | am in jail here. Because of my actions, my family is suffering
as going to jail is a very embarrassing and humiliating circumstance in India. My
parents are suffering and that is my greatest regret.

| intend to devote myself to community service and helping senior citizens. |
want to spend some of my future career in educating the uneducated rural children
where proper education is not received in my native country.

| made a terrible decision that will drastically change my life. All the work | have
put into achieving my master’s will not serve me in India. | will have to start over.
Worse than that | will have to deal with the pain and humiliation | have caused to my
family. | truly regret my actions and accept full responsibility for what | have done. |
apologize to the Court and to all those who have been affected by my decisions.

Very truly yours,

Bharath Kakireddy
Case 2:19-cr-20026-GAD-EAS ECF No. 90 filed 08/15/19 PagelD.389

EXHIBIT F

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July 19, 2019

Honorable Gershwin A. Drain
United States District Court

For the Eastern District of Michigan
Theodore Levin U.S. Courthouse
231 W., Lafayette Blvd., Room 751
Detroit, Michigan 48226

Re: United States of America v. Bharath Kakireddy, et al.
Case No, 19-20026

Dear Judge Drain,

On August 22™,2019 Bharat Kakireddy will stand before you to be sentenced on his plea to
harboring aliens. Mr. Bharat Kakireddy is our only son. We would like to offer you our thoughts about
his character. :

Bharat Kakireddy is a social conscious person. He likes to help his friends, relatives as possible as
he can do.

We are somewhat familiar with the underlying facts of this case. We know that our son Mr. Bharat
Kakireddy's main intention for recruiting students to Farmington university was to assist them and to
prevent them from being deported or having to leave the country voluntarily until they found a new
university,

His thought was that he is helping students to prevent them from being deported. We think, he
did not know that, it's an offense at that time. tf he got a thought that it may lead to be a crime, he
could not recruit students to the university, so he doesn't like to do such illegal activities.

Bharat Kakireddy believed that school where he was studying Silicon Valley has accreditation with
Government of US. Unfortunately, it's accreditation wrongfully denied.

Bharat Kakireddy is a man strongly devoted to our family and his friends. We know that because he
thinks always to be obedient and honest to family members and help full to friends.

Now Bharat Kakireddy knows that he had made a big mistake unknowingly. He had never done
this type of mistake in the past in India. Even he doesn't think to do such things. We know he is suffering
both physically and emotionally from this prolonged incarceration. He knows that whenever he is
released he will be to be put back into custody, this time under the authority of ICE, and he will be
certainly imported to India,

We are requesting this court to consider Mr. KAKIREDDY'Sexcellent back ground and strong support
from family and friends. He is humiliated and beaten. He can understand that due to this case he will not
be allowed to reenter the US.

As his intention was to his work study and obtain a full time in the US, something he had accomplished
at the time he was arrested, this means Bharat kakireddy must start over this time in India. Itis a
devastating setback to his career goals.
Case 2:19-cr-20026-GAD-EAS ECF No. 90 filed 08/15/19 PagelD.391 Page 46 of 50

This court has a wide variety of options at sentencing. Our desire that this court consider sentencing
our son Mr. Bharat Kakireddy to the time he has already served in prison and send him home to India.

Thank you, sir,
Yours sincerely

Bhagyamma Kaki Reedy

K, WAS aw &

Shekhar Reddy Kaki Reddy

\< 4329 9
HNO 4-36 rook

Manajipet village
Ghanpur mandal
Wanaparthy distract
Telanagana

India- 509380
Case 2:19-cr-20026-GAD-EAS ECF No. 90 filed 08/15/19 PagelD.392 Page 47 of 50

July 19, 2019

Honorable Gershwin A, Brain
United States District Court

For the Eastern District of Michigan
Theodore Levin U.S. Courthouse
231 W. Lafayette Bivd., Room 751
Detroit, Michigan 48226

Re: United States of America v. Bharath Kakireddy, etal.
Case No. 19-20026

Dear Judge Drain

With your permission | request to bring the following matter to your notice. A case relating to Mr.
Bharat Kakireddy is coming before you on August 22™, 2019 and he is going to present before you on the
day. As peras ! know about Mr. Bharat kakireddy. | want to put before you with your kind permission.

land Mr. Kakireddy are very close friends from our childhood days. We are also class mates. Bharat
kakireddy used to move closely with everyone. He did not hurt anyone, generally he will adjust with
everyone and he fs very soft in his activities,

He is also intelligent in his studies. If anybody needs help, he used to respond immediately in
particularly regarding studies, He never participated in anti-social activities and against to college rules
and regulations. Moreover, he opposed the students who behaved against to college rules

Bharat Kakireddynever participated in anti-socialactivities, particularly related to career. His main
ambition is to lead a good and moral life in society with ethics. By this time, | can imagine Mr. Bharat
both physically and mentally facing much troubles with this case. He is already damaged with this case,
he must start his career again.

Thank you sir,

Yours sincerely

ye2k4-

Vamshidhar Reddy G
H No 1-28

Achithapur village
Wanaparthy district
Telangana

India- 509103
Case 2:19-cr-20026-GAD-EAS ECF No. 90 filed 08/15/19 PagelD.393 Page 48 of 50
July 22, 2019

Honorable Gershwin A. Drain
United States District Court

For the Eastern District of Michigan
Theodore Levin U.S. Courthouse
231 W. Lafayette Blvd., Room 751
Detroit, Michigan 48226

Re: United States of America v. Bharath Kakireddy, et al.
Case No, 19-20026

Dear Judge Drain:

On August 22, 2019, Bharath Kakireddy will stand before you to be sentenced on his
plea to harboring aliens. | have known Bharath Kakireddy for 16years. | would like to offer you
my thoughts about his character,

Bharath Kakireddy is one of my known relative and friend.’ We have begun both of our
bachelor’s degrees at the same time, we also started our careers in IT at the same
stage,laterBharath went on to pursue his master’s degree in ITfield from Unites states.

Bharath is, in short, kind of person who takes the better side. He has always been a kind
and generous with people around him. His work ethics and sensibilities towards family, friends
and Community are so strong and positive.! still remember the talks, thoughts, ideas and his
concern towards peopleand their lives in the close by slum communities.

| have come to knowthe Primary moral reason of Bharath’s involvement in Recruiting
people for Farmington University was to prevent the students to get deported and maintain
valid status until a new university has been found. | have also Understood that Bharath got into
this Farmington university,as his earlier school Silicon Valley University accreditation got denied
while he was pursuing his STEM.

Bharath might have got realized what he had done was not so legitimate, legal guilt
should have made him suffer Mentally and Physically. Being Only San to his parents, this whole
thing made them suffer pain and depression.

| request and hope that all the good things and positive morale of Bharath shall be considered
in the process of Decision making.

vara) url
Manipal Reddy.

#204, Jaya Krishna Enclave,
Hastinapuram,Hyderabad
500079.
Case 2:19-cr-20026-GAD-EAS ECF No. 90 filed 08/15/19

Honorable Judge Gershwin A. Drain Date: 30" July, 2019
United States District Court
For the Eastern District of Michigan
Theodore Levin U.S. Courthouse
231 W. Lafayette Blvd., Room 751
Detroit, Michigan 48226
Re: United States of America v. Bharath Kakireddy, et al. Case No. 19-20026
Dear Judge Drain,

lam writing in reference to Case:19-20026, which involves Bharath Kakireddy, who is being sentenced
on his plea to harboring aliens.

lam the cousin of Bharath Kakireddy and | have known him for 20 years. Mr. Kakireddy has tived with
with my family for 8 years during his schooling years. Ours is a strict and disciplined family. Me and
Mr. Kakireddy have attended the elementary school, middle school and the high school together. |
believe that, childhood plays a key role in shaping one’s character. Having shared childhood with Mr.
Kakireddy, | can certainly say that he is a man of good character, humble, sincere and honest. He was
never involved in any wrong doing.

Many international students are unaware of the laws in US and also the authenticity of the universities
they are joining. | don’t know under which circumstances Mr. Kakireddy was recruiting people to
Farmington University, but |! am confident that he would never have done this if he was aware of the
consequences of his actions. He never did any actions to harm others. From the little knowledge I have
about the case, Mr. Kakireddy might have recruited the students to help them keep in status in
exchange for the course credits from the Farmington University. | don’t think that he has done this
with any criminal intent.

Mr. Bharath Kakireddy has arrived in US with big dreams to excel in the software world. He has now
realized that he did a serious mistake and regrets joining Farmington Hills University which took a bad
turn in his fife. Had he joined any other certified college after the cancellation of accreditation of
Silicon Valley University, his life would have been prosperous. Mr. Kakireddy is broken with the
conditions he is currently in and lost some of the most productive time in his life. Having not met Mr.
Kakireddy for the last 5 years accompanied with his current situation in custody has left his parents
crippled and devastated. | am very concerned about how the sentence will affect his parents.

Most of my family members in India cannot speak, read or write in English, which is why, | am writing
this letter on behalf of all of them. All my family members are praying for Mr.Kakireddy to be deported
to India as early as possible. Considering the good character of Mr. Kakireddy, we beg you to consider
deporting him. As a large family, we are prepared to rehabilitate Mr.Kakireddy and provide him
necessary support to start a new journey in India.

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Case 2:19-cr-20026-GAD-EAS ECF No. 90 filed 08/15/19 PagelD.395 Page 50 of 50

Students are the future of any nation and they deserve a second chance for the mistakes they did with
no intent to harm others. | pray that you be lenient with my cousin.

Yours sincerely,
Chakridhar Reddy Teeneti,
Doctoral candidate,

Utah State University.
